           Case 1:21-cv-00535-TCB Document 1 Filed 02/04/21 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

FAIRCROFT HOMEOWNERS                         )
ASSOCIATION, INC.,                           )
                                             )
              Plaintiff,                     )
                                             )     CIVIL ACTION
v.                                           )     FILE NO. _______________
                                             )
AMERICAN ALTERNATIVE                         )
INSURANCE CORPORATION,                       )
                                             )
              Defendant.                     )
                                             )

                            NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant American

Alternative Insurance Corporation (“AAIC”) removes the above-captioned lawsuit

from the Superior Court of Fulton County, Georgia, Civil Action No.

2020CV343883 in which it is currently pending, to the United States District Court

for the Northern District of Georgia, Atlanta Division. As grounds for removal of

this case, AAIC states as follows:

      1.       On December 22, 2020, Plaintiff Faircroft Homeowners Association,

Inc. (“Faircroft”) filed the above-captioned lawsuit in the Superior Court of Fulton

County, Georgia.


                                         1
               Case 1:21-cv-00535-TCB Document 1 Filed 02/04/21 Page 2 of 5




          2.       On January 5, 2021 AAIC was served with a copy of the Complaint.

Service upon AAIC was the first time AAIC was made aware of this lawsuit.

          3.       This Notice of Removal is filed in a timely and proper manner pursuant

to 28 U.S.C. § 1446(b) as it is being filed within thirty (30) days of January 5, 2021

the date that AAIC was served with the Complaint.

          4.       This civil action is one over which this Court has original jurisdiction

under 28 U.S.C. § 1332 and which may be removed to this Court under 28 U.S.C.

§§ 1441 and 1446. This is a civil action in which the amount in controversy exceeds

$75,000, exclusive of interest and costs, and is an action between citizens of different

states.

          5.       All pleadings in the Fulton County Superior Court action are attached

hereto as Exhibit “A”.

          6.       Faircroft alleges that it is and was at the time of the filing of this action

a domestic corporation formed in Georgia with its principal place of business in

Georgia. (See Ex. A, Compl. ¶ 1.)

          7.       AAIC is and was at the time of the filing of this lawsuit a corporation

under the laws of the State of Delaware with its principal place of business in the

State of New Jersey.




                                                 2
           Case 1:21-cv-00535-TCB Document 1 Filed 02/04/21 Page 3 of 5




      8.       Accordingly, there is complete diversity of citizenship between

Faircroft, on the one hand, and AAIC, on the other.

      9.       In the instant litigation, Faircroft seeks damages for AAIC’s alleged

failure to pay a claim under Policy No. CAU510306-2 (the “Policy”) arising from

storm events occurring May 4, 2019 and February 26, 2020.

      10.      Faircroft asserts that on October 6, 2020, Faircroft, through counsel,

made a demand to AAIC in the amount of $2,400,866.82 for the alleged property

damage caused by the May 4, 2019 and February 26, 2020 storm events (the

“Demand”). (Id. at ¶ 16.)

      11.      Faircroft asserts a breach of contract claim against AAIC based on the

Policy and AAIC’s alleged failure to pay the full amount of the Demand. (Id. at ¶¶

22-31)

      12.      Faircroft also asserts a bad faith claim under O.C.G.A § 33-4-6, which

if successful could potentially allow Faircroft to recover not only what it claims is

covered under the Policy, but also an additional amount of up to 50% of the alleged

covered loss, plus reasonable attorney’s fees incurred in bringing this case (Id. at ¶¶

32-42.)




                                          3
         Case 1:21-cv-00535-TCB Document 1 Filed 02/04/21 Page 4 of 5




      13.       Thus, in light of Faircroft’s $2,400,866.82 demand and Faircroft’s

claims for breach of contract and bad faith, the amount in controversy in this lawsuit

exceeds $75,000, exclusive of interest and costs.

      14.       A copy of this Notice of Removal is being filed with the Superior Court

of Fulton County and has been served upon Faircroft.

      15.       The United States District Court for the Northern District of Georgia,

Atlanta Division, is the federal judicial district encompassing the State Court of

Gwinnett County, Georgia, where Faircroft originally filed this suit such that this is

the proper federal district for removal of this case to federal court under 28 U.S.C. §

1441(a) and § 90(a)(2).

      16.       AAIC does not waive any jurisdictional or other defenses that might

be available.

      17.       AAIC reserves the right to amend or supplement this Notice of

Removal.

      WHEREFORE, AAIC removes this action from the Superior Court of Fulton

County to this Court.




                                            4
       Case 1:21-cv-00535-TCB Document 1 Filed 02/04/21 Page 5 of 5




     Respectfully submitted this 4th day of February, 2021.

                                             /s/ Allison J. Gowens
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